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                          IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF PUERTO RICO


         IN RE:                                                CASE NUMBER: 18-05210 ESL

         OSCAR SOTO RODRIGUEZ                                  CHAPTER 13

         DEBTOR

                  DEBTOR’S REPORT OF STATUS OF INVESTIGATION OF ASUME RECORDS

       TO THE HONORABLE COURT:

               Comes now the debtor, through the undersigned counsel, and respectfully

       represents:

          1.       A hearing has been scheduled for April 3, 2019.

          2.       At the hearing the matters to be considered are the confirmation of the plan

                   dated November 1, 2018 and Desiray Diaz’s Motion to Dismiss, Debtor’s Reply

                   Creditor’s Reply (dockets 35, 45 and 48).

          3.       The debtor’s position is and has been that he is current in post petition

                   payments, and that there is a legitimate dispute as to the amounts owed to

                   creditor Desiray Díaz regarding pre-petition payments. At this time Creditor

                   Desiray Díaz and ASUME have both filed claims which include duplicate

                   amounts, which exceed the amount actually owed by debtor.        As a result of

                   the Order entered by the Honorable Rosabelle Padín Batista, Judge of the

                   Caguas Superior Court on March 25, 2019, ASUME is to review and adjust the

                   case record within 20 days.   Although this period goes beyond the date of

                   the hearing, Special Counsel for debtor has met with ASUME and has reason
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                   to believe that the report will be ready by, April 2, 2019.      The plan has not

                   been amended because the undersigned counsel believes that the

                   investigation will result in the amendment of the Claim by ASUME, and the

                   amendment of the plan at this juncture, may be superfluous. Copy of the

                   order is attached.

          4.       Any delay in relation to the actual determination of the balance owed, has not

                   been caused by debtor, who only seeks to confirm a plan to pay the actual

                   amount owed.

                Wherefore, debtor respectfully prays that this Honorable Court takes the above

       stated in consideration In view of the pending hearing.

       CERTIFICATE OF SERVICE: I hereby certify that on March 29, 2019I electronically filed the

       foregoing with the Clerk of the Court using the CM/ECF System which will send notification of

       such filing to all registered parties, which include the Office of the United States Trustee. FRBP

       1007(c).

                                             s/ Teresa M. Lube Capo
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